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             Exhibit
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             5-8-10)                                                                                                                                      •• • ,    olumlu rem hoe tem Meal   e, .
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                                                    FEDERAL BUREAU OF INVESTIGATION

                                                                                                                               Date of en1xy 
                                                                                                                               'DWHRIHQWU\  03/26/2019

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                                                    FEDERAL GRAND JURY INFORMATION
7KLVGRFXPHQWFRQWDLQVLQIRUPDWLRQSHUWDLQLQJWRDIHGHUDOJUDQGMXU\SURFHHGLQJ7KH
This document contains information pertaining to a federal grand jury proceeding. The
LQIRUPDWLRQPD\QRWEHGLVVHPLQDWHGZLWKLQRURXWVLGHWKH)%,H[FHSWDVSURYLGHGIRU
information may not be disseminated within or outside the FBI, except as provided for
XQGHU)HGHUDO5XOHRI&ULPLQDO3URFHGXUH H (3),
under Federal Rule of Criminal Procedure 6(e)  ZKHUHLQGLVFORVXUHPD\EHPDGHWR
                                                  wherein disclosure may be made to:
  DQDWWRUQH\IRUWKHJRYHUQPHQWIRUXVHLQSHUIRUPLQJWKDWDWWRUQH\
(1)                                                                    VRIILFLDO
    an attorney for the government for use in performing that attorney's official
GXWLHVRU
duties;      DQ\JRYHUQPHQWSHUVRQQHOWKDWDQDWWRUQH\IRUWKHJRYHUQPHQWFRQVLGHUV
        or (2) any government personnel that an attorney for the government considers
QHFHVVDU\WRDVVLVWLQSHUIRUPLQJWKDWDWWRUQH\ VRIILFLDOGXWLHV
necessary to assist in performing that attorney's official duties.


             2Q)HEUXDU\+HDWKHU+XQWZDVLQWHUYLHZHGDWWKHRIILFHVRI
                 On February 21, 2019, Heather Hunt was interviewed at the offices of
             WKH86'HSDUWPHQWRI-XVWLFH)RUHLJQ$JHQWV5HJLVWUDWLRQ$FW8QLW
             the  U.S. Department of Justice, Foreign Agents Registration Act Unit
              )$5$8QLW
             ("FARA  Unit")ORFDWHGDW16WUHHW1(&RQVWLWXWLRQ6TXDUH%XLOGLQJ
                            located at 175 N Street, NE, Constitution Square, Building
             :DVKLQJWRQ'&3UHVHQWIRUWKHLQWHUYLHZZHUH$VVLVWDQW8QLWHG
             3, Washington, D.C. 20002. Present for the interview were Assistant United
             6WDWHV$WWRUQH\V
             States Attorneys )HUQDQGR&DPSRDPRU6DQFKH] 0ROO\*DVWRQ
                               Fernando Campoamor-Sanchez, Molly Gaston,DQG 0LFKDHO
                                                                         and Michael
             'L/RUHQ]RIURPWKH8QLWHG6WDWHV$WWRUQH\
             DiLorenzo from the United States Attorney'sV2IILFHIRUWKH'LVWULFWRI
                                                          Office for the District of
             &ROXPELD
             Columbia;86'HSDUWPHQWRI-XVWLFH$WWRUQH\-DVRQ0F&XOORXJKIURPWKH
                        U.S. Department of Justice Attorney Jason McCullough from the
             &RXQWHULQWHOOLJHQFHDQG([SRUW&RQWURO6HFWLRQDQG6SHFLDO$JHQW'DQLHO
             Counterintelligence and Export Control Section; and Special Agent Daniel
             .HJOIURPWKH1HZ<RUN2IILFHRIWKH)HGHUDO%XUHDXRI,QYHVWLJDWLRQ
             Kegl from the New York Office of the Federal Bureau of Investigation.

             $WWKHEHJLQQLQJRIWKHLQWHUYLHZ+XQWZDVSURYLGHGZLWKDELQGHURI
                At the beginning of the interview, Hunt was provided with a binder of
             WDEEHGH[KLELWVSUHSDUHGE\8QLWHG6WDWHV$WWRUQH\
             tabbed exhibits prepared by United States Attorney'sV2IILFHIRUWKH
                                                                   Office for the
             'LVWULFWRI&ROXPELD
             District of Columbia.7KHLQWHUYLHZHUVUHIHUHQFHGWKHH[KLELWVWKURXJKRXW
                                    The interviewers referenced the exhibits throughout
             WKHLQWHUYLHZ7KHFRUUHVSRQGLQJWDEQXPEHUVDUHQRWHGEHORZZKHUH
             the interview. The corresponding tab numbers are noted below where
             DSSOLFDEOH$FRS\RIWKHELQGHULVDWWDFKHGKHUHWRDVDSK\VLFDO$
             applicable. A copy of the binder is attached hereto as a physical 1A
             SDFNDJH
             package.

             $IWHUEHLQJDGYLVHGRIWKHLGHQWLWLHVRIWKHLQWHUYLHZLQJSDUWLHVDQG
                After being advised of the identities of the interviewing parties and
             WKHQDWXUHRIWKHLQWHUYLHZ+XQWSURYLGHGWKHIROORZLQJLQIRUPDWLRQ
             the nature of the interview, Hunt provided the following information:

             +XQWZDVVXUH.HYLQ&RQQROO\WRRNQRWHVGXULQJWKH2FWREHU
                 Hunt was sure Kevin Connolly took notes during the October 9, 2013,
             PHHWLQJWKH)$5$8QLWKDGZLWK6NDGGHQ$USV6ODWH0HDJKHU
             meeting the FARA Unit had with Skadden, Arps, Slate, Meagher & )ORP//3
                                                                             Flom LLP
              6NDGGHQ +RZHYHU+XQWFRXOGQRWILQG&RQQROO\
             ("Skadden").                                        VQRWHVDIWHUVHDUFKLQJ
                           However, Hunt could not find Connolly's notes after searching
             IRUWKHP,I+XQWKDGIRXQGWKHQRWHVVKHZRXOGQRWKDYHH[SHFWHGWRILQG
             for  them. If Hunt had found the notes, she would not have expected to find
             GHWDLOHGQRWHV+XQWGLGQRWXVXDOO\WDNHQRWHVDWPHHWLQJVVXFKDVWKH
             detailed notes. Hunt did not usually take notes at meetings such as the
             RQHRQ2FWREHUZLWK6NDGGHQEHFDXVHVKHZRXOGEHWDONLQJ+XQW
             one  on October 9, 2013, with Skadden because she would be talking. Hunt
             ZRXOGWDNHQRWHVLIVRPHRQHHOVHZDVUXQQLQJWKHPHHWLQJ
             would take notes if someone else was running the meeting.


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                                       Washington, D.C., District Of Columbia, United States (In
    ,QYHVWLJDWLRQRQ
    Investigation on     DW
                        02/21/2019     3HUVRQ
                                    at Person)
    )LOH
    File #                                                                                                                     'DWHGUDIWHG
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    by   .(*/'$1,(/
         KEGL DANIEL
    7KLVGRFXPHQWFRQWDLQVQHLWKHUUHFRPPHQGDWLRQVQRUFRQFOXVLRQVRIWKH)%,,WLVWKHSURSHUW\RIWKH)%,DQGLVORDQHGWR\RXUDJHQF\LWDQGLWVFRQWHQWVDUHQRW
    This document contains neither recommendations nor conclusions of the FBL It is the property of the FBI and is loaned to your agency; it and its contents are not
    WREHGLVWULEXWHGRXWVLGH\RXUDJHQF\
    to be distributed outside your agency.
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&RQWLQXDWLRQRI)'RI
Continuation of FD-302 of    8)282 ,QWHUYLHZRI+HDWKHU+XQW
                            (U//FOUO) Interview of Heather Hunt     2Q
                                                                    ,On    
                                                                           02/21/2019   3DJH
                                                                                        ,Page
                                                                                                 RI
                                                                                                  2 of 5 

           6NDGGHQ
              Skadden'sVUHTXHVWWRKDYHDQLQSHUVRQPHHWLQJZLWKWKH)$5$8QLWWR
                         request to have an in-person meeting with the FARA Unit to
           GLVFXVVWKH)$5$8QLW
           discuss                VFRQFOXVLRQUHJDUGLQJ6NDGGHQ
                    the FARA Unit's                              VREOLJDWLRQWR
                                    conclusion regarding Skadden's obligation to
           UHJLVWHUXQGHU)$5$ZDVQRUPDO7KH)$5$8QLWZDVZLOOLQJWRKHDU
           register  under FARA was normal. The FARA Unit was willing to hear
           6NDGGHQ VSRVLWLRQ7KH)$5$8QLWZDVUHFHSWLYHWRPDNLQJDFKDQJHLQLWV
           Skadden's  position. The FARA Unit was receptive to making a change in its
           FRQFOXVLRQUHJDUGLQJUHJLVWUDWLRQ7KHUHZDVQRWDQDJHQGDRQWKH)$5$
           conclusion  regarding registration. There was not an agenda on the FARA
           8QLW VSDUWKHDGLQJLQWRWKHPHHWLQJ+RZHYHUJRLQJLQWRWKHPHHWLQJ+XQW
           Unit's  part heading into the meeting. However, going into the meeting Hunt
           QHHGHGWREHFRQYLQFHGE\6NDGGHQIRUKHUWRPDNHDFKDQJHLQWKH)$5$
           needed to be convinced by Skadden for her to make a change in the FARA
           8QLW VFRQFOXVLRQ,QWKLVFDVH6NDGGHQ
           Unit's                                    VFRQWDFWVZLWKPHGLDRXWOHWVZDV
                   conclusion. In this case, Skadden's contacts with media outlets was
           DQLVVXH,I6NDGGHQ
           an issue. If Skadden'sVFRQWDFWVZLWKWKHPHGLDZHUHGRQHIRUWKHSXUSRVH
                                   contacts with the media were done for the purpose
           WRLQIOXHQFHWKHSXEOLFWKHDFWLYLW\ZRXOGUHTXLUH)$5$UHJLVWUDWLRQ
           to influence the public the activity would require FARA registration.
           &UDLJZDVDGDPDQWWKHFRQWDFWVZHUHLQUHVSRQVHWRWKHPHGLD
           Craig  was adamant the contacts were in response to the media.

           7KHSXUSRVHRIWKHPHGLDFRQWDFWVZDVVRPHWKLQJ+XQWZDQWHGWRKHDU
              The purpose of the media contacts was something Hunt wanted to hear
           DERXWDWWKHPHHWLQJ$WWKHPHHWLQJWKH)$5$8QLWGLGQRWPDNHD
           about at the meeting. At the meeting, the FARA Unit did not make a
           GHFLVLRQDERXW6NDGGHQ
           decision               VGXW\WRUHJLVWHUXQGHU)$5$
                    about Skadden's duty to register under FARA.

           *HQHUDOO\WKH)$5$8QLW VLQWHUDFWLRQVZLWK6NDGGHQZHUHUHJXODUDQG
              Generally, the FARA Unit's interactions with Skadden were regular and
           URXWLQH
           routine.

           3ULRUWRWKHPHHWLQJ+XQWKDGZRUNHGZLWK.HQQHWK*URVV+XQWNQHZ
              Prior to the meeting, Hunt had worked with Kenneth Gross. Hunt knew
           *UHJRU\&UDLJ
           Gregory       VQDPHEHFDXVHKHKDGUHJLVWHUHGXQGHU)$5$LQWKHHDUO\
                   Craig's name because he had registered under FARA in the early
           V+XQWKDGQRWLQWHUDFWHGZLWK/DZUHQFH6SLHJHOSULRUWRWKHPHHWLQJ
           1990s. Hunt had not interacted with Lawrence Spiegel prior to the meeting.
           +XQWGHVFULEHG*URVVDQG&UDLJDVKDYLQJDQDLUDERXWWKHP
           Hunt described Gross and Craig as having an "air about them."

           7KHPHHWLQJRFFXUUHGDWWKH)$5$8QLW  VRIILFHLQDFRQIHUHQFHURRP
               The meeting occurred at the FARA Unit's office in a conference room.
           +XQWGLGQRWUHPHPEHUWKHVHDWLQJDUUDQJHPHQW&UDLJGLGDORWRIWDONLQJ
           Hunt  did not remember the seating arrangement. Craig did a lot of talking.
           &UDLJZDVWU\LQJWRFRQYLQFHWKH)$5$8QLWDERXWWKHPHGLDFRQWDFWV&UDLJ
           Craig  was trying to convince the FARA Unit about the media contacts. Craig
           WDONHGDERXWWKH/RV$QJHOHV7LPHVFRQWDFW&UDLJZDVDGDPDQWKHGLGQRW
           talked  about the Los Angeles Times contact. Craig was adamant he did not
           GLVVHPLQDWHWKHUHSRUW6NDGGHQZURWHDERXWWKHSURVHFXWLRQRI<XOLD
           disseminate  the report Skadden wrote about the prosecution of Yulia
           7\PRVKHQNR  WKH6NDGGHQ5HSRUW
           Tymoshenko (the                   &UDLJUHDFKHGRXWWRWKH/RV$QJHOHV
                            "Skadden Report"). Craig reached out to the Los Angeles
           7LPHVWRFRUUHFWDPLVFKDUDFWHUL]DWLRQ&UDLJGHVFULEHGWKHFRQWDFWVZLWK
           Times to correct a mis-characterization. Craig described the contacts with
           WKHWKUHHPHGLDRXWOHWVQDPHGLQ6NDGGHQ
           the                                       VFRUUHVSRQGHQFHZLWKWKH)$5$
                three media outlets named in Skadden's correspondence with the FARA
           8QLWDVEHLQJGRQHWRFRUUHFWPLVFKDUDFWHUL]DWLRQV
           Unit  as being done to correct mis-characterizations.

           +XQWVWDWHGLI&UDLJJDYHWKH6NDGGHQ5HSRUWWRWKHPHGLDWKDWZRXOG
              Hunt stated if Craig gave the Skadden Report to the media that would
           KDYHEHHQDGLVVHPLQDWLRQDQGWKH)$5$8QLWZRXOGQRWKDYHFKDQJHGLWV
           have been a dissemination, and the FARA Unit would not have changed its
           FRQFOXVLRQ
           conclusion.

           3ULRUWRWKHPHHWLQJZLWK6NDGGHQWKH)$5$8QLWZRXOGKDYHJRQHRYHU
              Prior to the meeting with Skadden the FARA Unit would have gone over
           WKHFRUUHVSRQGHQFHZLWK6NDGGHQDQGWKHUHOHYDQWQHZVDUWLFOHV7KH)$5$
           the  correspondence with Skadden and the relevant news articles. The FARA
           8QLWNQHZZKDWWKHSXUSRVHRIWKHPHHWLQJZDV7KH)$5$8QLWH[SHFWHGWR
           Unit  knew what the purpose of the meeting was. The FARA Unit expected to
           KHDUZK\&UDLJ
           hear            VPHGLDFRQWDFWVZHUHRQO\WRFRUUHFWPLVFKDUDFWHUL]DWRQV
                 why Craig's media contacts were only to correct mis-characterizatons
           DQGQRWGLVVHPLQDWLRQVRIWKH6NDGGHQ5HSRUW
           and  not disseminations of the Skadden Report.



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                           8)282 ,QWHUYLHZRI+HDWKHU+XQW
Continuation of FD-302 of (U//FOUO)
&RQWLQXDWLRQRI)'RI           Interview of Heather Hunt   ,2Q
                                                                   On   
                                                                        02/21/2019           RI
                                                                                        page 3
                                                                                     ,3DJH    of 5


           +XQWGLGQRWNQRZZK\DSHUVRQIURPWKH8QLWHG6WDWHV'HSDUWPHQWRI
               Hunt did not know why a person from the United States Department of
           6WDWHZDVDQLVVXHEXW+XQWGLGNQRZVKHGLGQRWZDQWWKHSHUVRQWR
           State was an issue, but Hunt did know she did not want the person to
           DWWHQGWKH2FWREHUPHHWLQJ+XQWUHFDOOHGWKHLQTXLU\WRKDYHWKH
           attend the October 9, 2013, meeting. Hunt recalled the inquiry to have the
           'HSDUWPHQWRI6WDWHSHUVRQDWWHQGWKHPHHWLQJFDPHIURP6NDGGHQ+XQWWROG
           Department of State person attend the meeting came from Skadden. Hunt told
           WKHDFWLQJ6HFWLRQ&KLHI7KRPDV5HLOO\DERXWWKHUHTXHVW+XQWGLGQRW
           the  acting Section Chief, Thomas Reilly, about the request. Hunt did not
           ZDQWVRPHRQHIURPWKH'HSDUWPHQWRI6WDWHFRQYLQFLQJWKH)$5$8QLWWKDW
           want someone from the Department of State convincing the FARA Unit that
           6NDGGHQGLGQRWQHHGWRUHJLVWHU+DYLQJDSHUVRQIURPWKH'HSDUWPHQWRI
           Skadden did not need to register. Having a person from the Department of
           6WDWHDWWHQGWKHPHHWLQJZRXOGKDYHEHHQRGG
           State attend the meeting would have been odd.

           +XQWGLGQRWQHHGWRSURYLGHEULHILQJVWR5HLOO\VLPSO\EHFDXVHWKH
              Hunt did not need to provide briefings to Reilly simply because the
           PDWWHULQYROYHG6NDGGHQDQG&UDLJ5HLOO\NQHZWKH)$5$8QLWZDVJRLQJWR
           matter involved Skadden and Craig. Reilly knew the FARA Unit was going to
           KDYHDPHHWLQJZLWK6NDGGHQ
           have a meeting with Skadden.

           $IWHUWKHPHHWLQJ+XQWGLGQRWUHSRUWWKHUHVXOWVWRKHUVXSHULRUV
              After the meeting Hunt did not report the results to her superiors
           EHFDXVHWKHUHZDVHQRXJKVDLGLQWKHPHHWLQJDQGLQ6NDGGHQ
           because                                                      V2FWREHU
                    there was enough said in the meeting and in Skadden's October 10,
           OHWWHUGRFXPHQWHGEHKLQG7DERIWKHELQGHUIRUWKH)$5$8QLWWR
           2013,  letter documented behind Tab 17 of the binder for the FARA Unit to
           FKDQJHLWVFRQFOXVLRQDERXW6NDGGHQ
           change                               VQHHGWRUHJLVWHUXQGHU)$5$,WZDV
                   its conclusion about Skadden's need to register under FARA. It was
           QRWDUHTXLUHPHQWWKDW+XQWUHSRUWWR5HLOO\RUDVNIRUKLVDSSURYDOWR
           not a requirement that Hunt report to Reilly, or ask for his approval, to
           FKDQJHWKH)$5$8QLW
           change                VFRQFOXVLRQ$WWKHWLPHWKLVZDVDURXWLQH
                   the FARA Unit's conclusion. At the time, this was a routine
           UHJLVWUDWLRQPDWWHU7KH)$5$8QLW
           registration matter. The FARA Unit'sVGHFLVLRQWRFKDQJHLWVLQLWLDO
                                                 decision to change its initial
           GHWHUPLQDWLRQGLGQRWQHHGWRJRXSWKHPDQDJHPHQWFKDLQ+XQWVWDWHG
           determination  did not need to go up the management chain. Hunt stated
           WKHUHZDVQRWDQRYHOOHJDOLVVXHLQWKLVFDVH,IWKHPHGLDFRQWDFWVZHUH
           there  was not a novel legal issue in this case. If the media contacts were
           GRQHRQO\WRFRUUHFWPLVFKDUDFWHUL]DWLRQVWKHFRQWDFWVZRXOGQRWKDYH
           done only to correct mis-characterizations, the contacts would not have
           WULJJHUHG)$5$UHJLVWUDWLRQ
           triggered  FARA registration.

           $WWKH2FWREHUPHHWLQJ+XQWUHPHPEHUHG&UDLJGLVFXVVLQJWKH
              At the October 9, 2013, meeting Hunt remembered Craig discussing the
           QDWXUHRIWKHPHGLDFRQWDFWV+XQWUHPHPEHUHG&UDLJWDONLQJDERXWWKH/RV
           nature of the media contacts. Hunt remembered Craig talking about the Los
           $QJHOHV7LPHVEXWVKHGLGQRWUHPHPEHUWKHRWKHUPHGLDRXWOHWVEHLQJ
           Angeles  Times, but she did not remember the other media outlets being
           WDONHGDERXW+XQWGLGQRWUHPHPEHUDSXEOLFDWLRQQRWSUHYLRXVO\
           talked  about. Hunt did not remember a publication not previously
           LGHQWLILHGLQWKHFRUUHVSRQGHQFHEHWZHHQWKH)$5$8QLWDQG6NDGGHQEHLQJ
           identified  in the correspondence between the FARA Unit and Skadden being
           QDPHGLQWKHPHHWLQJ
           named in the meeting.

           +XQWGLGQRWUHPHPEHUGLVFXVVLQJWKHPDQQHULQZKLFKWKHPHGLDREWDLQHG
               Hunt did not remember discussing the manner in which the media obtained
           WKH6NDGGHQ5HSRUWDWWKHPHHWLQJ7KHPHHWLQJODVWHGIRUOHVVWKDQRQH
           the  Skadden Report at the meeting. The meeting lasted for less than one
           KRXU$IWHUWKHPHHWLQJWKH)$5$8QLWPHWWRGHEULHI+XQWGLGQRW
           hour.  After the meeting, the FARA Unit met to debrief. Hunt did not
           UHPHPEHUZKDWWKH\FRQFOXGHGRULIWKH\PDGHFRQFOXVLRQVDWWKHGHEULHI
           remember  what they concluded or if they made conclusions at the debrief.

           $WWKHPHHWLQJWKHSDUWLHVWDONHGDERXWGLVVHPLQDWLRQRIWKHUHSRUWLQ
              At the meeting the parties talked about dissemination of the report in
           WKHWHUPVRI)$5$'LVVHPLQDWLRQLQYROYHGSODFLQJWZRRUPRUHFRSLHVRI
           the terms of FARA. Dissemination involved placing two or more copies of
           LQIRUPDWLRQDOPDWHULDOLQWRLQWHUVWDWHFRPPHUFH3URYLGLQJLQIRUPDWLRQDO
           informational material into interstate commerce. Providing informational
           PDWHULDOWRRQHMRXUQDOLVWFDXVHVGLVVHPLQDWLRQWRPRUHSHRSOH
           material to one journalist causes dissemination to more people.
           'LVVHPLQDWLRQDOVRLQYROYHVEHLQJHQJDJHGLQSROLWLFDODFWLYLW\ZLWKD
           Dissemination also involves being engaged in political activity with a
           SXUSRVHWRLQIOXHQFH
           purpose to influence.


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&RQWLQXDWLRQRI)'RI
Continuation of FD-302 of    8)282 ,QWHUYLHZRI+HDWKHU+XQW
                            (U//FOUO) Interview of Heather Hunt     2Q
                                                                    ,On    
                                                                           02/21/2019   3DJH
                                                                                        , page   4
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                                                                                                    of 5

           $WWKH2FWREHUPHHWLQJ&UDLJVDLGKHJDYHWKH6NDGGHQ5HSRUW
              At the October 9, 2013, meeting, Craig said he gave the Skadden Report
           WRDUHSRUWHUWRFRUUHFWDPLVFKDUDFWHUL]DWLRQ+XQWWKRXJKW&UDLJZDV
           to a reporter to correct a mis-characterization. Hunt thought Craig was
           WDONLQJDERXWDPLVFKDUDFWHUL]DWLRQWKDWZDVDOUHDG\SXEOLVKHG
           talking about a mis-characterization that was already published.

           +XQWWROG&UDLJKHKDGWRSXWKLVSRVLWLRQLQZULWLQJIRUWKH)$5$
              Hunt told Craig he had to put his position in writing for the FARA
           8QLW
           Unit.

           ,I&UDLJJDYHWKH6NDGGHQ5HSRUWWRPHGLDRXWOHWVSULRUWRWKRVH
              If Craig gave the Skadden Report to media outlets prior to those
           RXWOHWVKDYLQJUHSRUWHGRQWKH6NDGGHQ5HSRUWWKDWDFWLYLW\ZRXOGUHTXLUH
           outlets having reported on the Skadden Report, that activity would require
           )$5$UHJLVWUDWLRQLIGRQHZLWKDQLQWHQWWRGLVVHPLQDWHWKHUHSRUWXQGHU
           FARA registration if done with an intent to disseminate the report under
           WKHGLUHFWLRQRUFRQWURORIWKH8NUDLQLDQJRYHUQPHQW
           the direction or control of the Ukrainian government.

           ,I&UDLJNQHZWKHJRYHUQPHQWRI8NUDLQHZDVJRLQJWRPLVFKDUDFWHUL]H
              If Craig knew the government of Ukraine was going to mis-characterize
           WKH6NDGGHQ5HSRUWDQGDVDUHVXOW&UDLJJDYHWKH6NDGGHQ5HSRUWWRWKH
           the Skadden Report and, as a result, Craig gave the Skadden Report to the
           1HZ<RUN7LPHVWRJHWDKHDGRIWKDWPLVFKDUDFWHUL]DWLRQ+XQWVWDWHGWKDW
           New York Times to get ahead of that mis-characterization, Hunt stated that
           DFWLYLW\PD\QRWUHTXLUHUHJLVWUDWLRQLILWZDVQRWGRQHXQGHUWKH
           activity  may not require registration if it was not done under the
           GLUHFWLRQRUFRQWURORIDIRUHLJQSULQFLSDO7KHVDPHZRXOGEHWUXHLI
           direction  or control of a foreign principal. The same would be true if
           &UDLJJDYHWKH6NDGGHQ5HSRUWWRWKH1HZ<RUN7LPHVDQGDVNHGWKH1HZ<RUN
           Craig gave the Skadden Report to the New York Times and asked the New York
           7LPHVWRKROGRIIRQUHSRUWLQJRQWKH6NDGGHQ5HSRUWXQWLORWKHUFRYHUDJH
           Times to hold off on reporting on the Skadden Report until other coverage
           DSSHDUHGLQWKHPHGLD
           appeared in the media.

           +XQWZDVDVNHGLI)$5$UHJLVWUDWLRQZRXOGEHUHTXLUHGLI&UDLJ VPHGLD
              Hunt was asked if FARA registration would be required if Craig's  media
           FRQWDFWVZHUHGRQHLQUHVSRQVHWRUHTXHVWVIURPWKHPHGLD,QUHSO\+XQW
           contacts were done in response to requests from the media. In reply, Hunt
           VWDWHGLWGLGQRWPDWWHUZKRLQLWLDWHGWKHFRQWDFW:KDWZRXOGEHUHOHYDQW
           stated it did not matter who initiated the contact. What would be relevant
           LVZKHWKHUWKHSXUSRVHRIWKHFRQWDFWZDVWRLQIOXHQFHWKHSXEOLFRQ
           is whether the purpose of the contact was to influence the public on
           EHKDOIRIDIRUHLJQSULQFLSDO+XQWIHOWWKHGHFLVLRQWRJLYHWKH6NDGGHQ
           behalf of a foreign principal. Hunt felt the decision to give the Skadden
           5HSRUWWRWKHPHGLDZDVDQLQGHSHQGHQWGHFLVLRQDQGQRWGRQHIRUDIRUHLJQ
           Report to the media was an independent decision and not done for a foreign
           SULQFLSDO
           principal.

           ,IWKHJRYHUQPHQWRI8NUDLQHDVNHG&UDLJWRFRQWDFWWKH1HZ<RUN7LPHV
              If the government of Ukraine asked Craig to contact the New York Times
           YLDDSXEOLFUHODWLRQVILUPEXW&UDLJFRQWDFWHGWKH1HZ<RUN7LPHVWR
           via a public relations firm, but Craig contacted the New York Times to
           SUHYHQWWKH8NUDLQLDQJRYHUQPHQWIURPPLVFKDUDFWHUL]LQJWKHUHSRUWWKDW
           prevent the Ukrainian government from mis-characterizing the report that
           DFWLYLW\ZRXOGUHTXLUH)$5$UHJLVWUDWLRQLIWKHJRYHUQPHQWRI8NUDLQH
           activity would require FARA registration if the government of Ukraine
           UHTXHVWHGWKHFRQWDFW,I&UDLJZDVDVNHGE\DIRUHLJQSULQFLSDOWRJLYH
           requested the contact. If Craig was asked by a foreign principal to give
           WKH6NDGGHQ5HSRUWWRWKH1HZ<RUN7LPHVWKDWDFWLYLW\ZRXOGUHTXLUH)$5$
           the Skadden Report to the New York Times, that activity would require FARA
           UHJLVWUDWLRQHYHQLI&UDLJKDGSHUVRQDOPRWLYDWLRQVIRUSURYLGLQJWKH
           registration even if Craig had personal motivations for providing the
           6NDGGHQ5HSRUWWRWKH1HZ<RUN7LPHV
           Skadden Report to the New York Times.

           ,IWKHJRYHUQPHQWRI8NUDLQHDVNHG&UDLJWRGLVVHPLQDWHWKH6NDGGHQ
              If the government of Ukraine asked Craig to disseminate the Skadden
           5HSRUWDQG&UDLJVWDWHGKHZRXOGQRWGLVVHPLQDWHWKH6NDGGHQ5HSRUWEXW
           Report and Craig stated he would not disseminate the Skadden Report, but
           WKHQXOWLPDWHO\GLVVHPLQDWHVWKHUHSRUWWKDWDFWLYLW\ZRXOGQRWUHTXLUH
           then ultimately disseminates the report, that activity would not require
           )$5$UHJLVWUDWLRQLIGRQHIRU&UDLJ
           FARA                                VRZQSXUSRVH
                registration if done for Craig's own purpose.

           ,I&UDLJSURYLGHGDFRS\RIWKH6NDGGHQ5HSRUWWRWKH1HZ<RUN7LPHVDW
              If Craig provided a copy of the Skadden Report to the New York Times at
           WKHUHTXHVWRIWKHJRYHUQPHQWRI8NUDLQHDQGZDVDOVRDVNHGWRSURYLGHD
           the request of the government of Ukraine and was also asked to provide a

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                           8)282 ,QWHUYLHZRI+HDWKHU+XQW
Continuation of FD-302 of (U//FOUO)
&RQWLQXDWLRQRI)'RI           Interview of Heather Hunt   2Q
                                                                ,On    
                                                                       02/21/2019   ,Page  RI
                                                                                    3DJH 5  of 5

           SUR8NUDLQLDQPHVVDJHDORQJZLWKSURYLGLQJWKHUHSRUWWRWKH1HZ<RUN
           pro-Ukrainian message along with providing the report to the New York
           7LPHVWKDWDFWLYLW\ZRXOGVWLOOUHTXLUH)$5$UHJLVWUDWLRQLI&UDLJ
           Times, that activity would still require FARA registration if Craig
           SURYLGHGWKHUHSRUWDQGSURYLGHGDOHVVSRVLWLYHPRGLILHGYHUVLRQRIWKH
           provided the report and provided a less-positive modified version of the
           SUR8NUDLQLDQPHVVDJH
           pro-Ukrainian message.

           7DE
              Tab 9

           :LWKUHVSHFWWRWKHUHVSRQVHWRTXHVWLRQRQHLQ'RFXPHQW6'1<B
               With respect to the response to question one in Document SDNY 00045,
           &UDLJJDYHWKH6NDGGHQ5HSRUWWRWKHUHSRUWHUVWRVKRZWKHPWKH\PDGHD
           Craig  gave the Skadden Report to the reporters to show them they made a
           PLVFKDUDFWHUL]DWLRQRIWKHUHSRUWLQWKHLUDUWLFOHV&UDLJZDVPDNLQJ
           mis-characterization  of the report in their articles. Craig was making
           VXUHWKH)$5$8QLWNQHZKHGLGQRWJLYHWKH6NDGGHQ5HSRUWWRWKHPHGLD
           sure  the FARA Unit knew he did not give the Skadden Report to the media
           IRUWKHSXUSRVHRIJHWWLQJWKHZRUGRXWDERXWWKH6NDGGHQ5HSRUWDQGIRU
           for  the purpose of getting the word out about the Skadden Report and for
           WKHPHGLDWRZULWHDERXWWKH6NDGGHQ5HSRUW
           the  media to write about the Skadden Report.

           7DE
              Tab 11

           /RRNLQJDWWKHOHWWHUGRFXPHQWHGEHKLQG7DERIWKHELQGHU+XQWVWDWHG
            Looking at the letter documented behind Tab 11 of the binder, Hunt stated
           EDVHGRQZKDW6NDGGHQJDYHWKH)$5$8QLWWKH)$5$8QLWWKRXJKWWKH
           based on what Skadden gave the FARA Unit, the FARA Unit thought the
           DFWLYLW\UHTXLUHGUHJLVWUDWLRQXQGHU)$5$
           activity required registration under FARA.

              7DE
           Tab 17

           +XQWVWDWHGWKH2FWREHUOHWWHUIURP&UDLJWR+XQWGRFXPHQWHG
               Hunt stated the October 10, 2013, letter from Craig to Hunt documented
           EHKLQG7DERIWKHELQGHULGHQWLILHGWKHJHQHUDOWKLQJWKDWZDV
           behind  Tab 17 of the binder identified the general thing that was
           GLVFXVVHGDWWKH2FWREHUPHHWLQJ7KHOHWWHUFRQILUPHGIDFWV+XQW
           discussed  at the October 9, 2013, meeting. The letter confirmed facts Hunt
           H[SHFWHGWRVHH7KHVHFRQGSDUDJUDSKRIWKHOHWWHUZDVWKHJLVWRIWKH
           expected  to see. The second paragraph of the letter was the gist of the
           PHHWLQJ+XQWGLGQRWUHPHPEHUPHGLDRXWVLGHRIWKH8QLWHG6WDWHVEHLQJD
           meeting.  Hunt did not remember media outside of the United States being a
           WRSLFRIGLVFXVVLRQDWWKHPHHWLQJ+XQWVDLGWKHJLVWRIWKHPHHWLQJZDV
           topic  of discussion at the meeting. Hunt said the gist of the meeting was
           &UDLJ VFRQWDFWVZLWKWKHPHGLDZHUHGRQHRQKLVRZQDQGLQGHSHQGHQWRI
           Craig's  contacts with the media were done on his own and independent of
           WKH8NUDLQLDQJRYHUQPHQW
           the  Ukrainian government.

           +XQWIHOW6NDGGHQGLGQRWQHHGWRUHJLVWHUXQGHU)$5$EDVHGRQZKDWVKH
              Hunt felt Skadden did not need to register under FARA based on what she
           KHDUGLQWKH2FWREHUPHHWLQJDQGZKDWVKHUHDGLQWKH2FWREHU
           heard in the October 9, 2013, meeting and what she read in the October 10,
           OHWWHU
           2013, letter.




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